




02-10-456-CV









 
  
  
   
    
   
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

NO. 02-10-00456-CV

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&nbsp;


 
  
  Darryl E. Hicks and All Occupants
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Federal National Mortgage Association
  
  
  &nbsp;
  
  
  APPELLEE
  
 


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FROM County
Court at Law No. 2 OF Denton COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

On April
18, 2011, we notified appellant that the trial court clerk responsible for
preparing the record in this appeal had informed this court that arrangements
had not been made to pay for the clerk=s
record as required by Texas Rule of Appellate Procedure 35.3(a)(2).&nbsp; See Tex.
R. App. P. 35.3(a)(2).&nbsp; We stated that we would dismiss the appeal for want of
prosecution unless appellant, within fifteen days, made arrangements to pay for
the clerk=s record and provided this court with
proof of payment.

Because
appellant has not made payment arrangements for the clerk=s
record, it is the opinion of the court that the appeal should be dismissed for
want of prosecution.&nbsp; Accordingly, we dismiss the appeal.&nbsp; See Tex. R.
App. P. 37.3(b), 42.3(b).

Appellant
shall pay all costs of the appeal, for which let execution issue.

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PER CURIAM

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PANEL:&nbsp;
LIVINGSTON,
C.J.; DAUPHINOT and GARDNER, JJ.

&nbsp;

DELIVERED:&nbsp;
May 26, 2011









[1]See Tex. R. App. P. 47.4.







